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IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNEWQUL la AH"; [.0
WES'I'ERN DIVISION

 

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UNITED STATES oF AMERICA, w {),r,g-;,g;.;;-_§».AMS

Petitioner,
VS. NO. 05-2314-MaV
ANDERSON IVIE ,

Respondent.

 

ORDER TO SHOW CAUSE

 

On May 10, 2005, Magistrate Judge Diane Vescovo entered an
Order to Show Cause ordering the respondent, Anderson Ivie, to
show cause why he should not be compelled to obey a United States
administrative summons served upon him on January 27, 2005.
Subsequently, Magistrate Judge Vescovo entered an order on June
14, 2005, compelling the Respondent to comply With the
administrative summons by appearing to give testimony before an
Internal Revenue officer and further to produce certain books and
records. Mr. Ivie has failed to comply With either of the
previously entered orders.

A Show Cause Hearing is set on Wednesday, August 17, 2005,
at 2330 p.m., before U. S. District Judge Samuel H. Mays, Jr.,
Courtroom No. 2, Clifford Davis Federal Building, Memphis,
Tennessee, at Which time and place Anderson Ivie is ORDERED to

show cause why he should not be required to comply With the

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court‘s previously entered orders. Failure to appear may result
in issuance of a warrant for the arrest of respondent.

It is so ORDERED this lS?L'day of July, 2005.

J//¢//Vl/z____

SAMUEL I'I. MAYS, JR.
UNITED S'I‘ATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
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July ]9, 2005 to the parties listed.

 

 

Lindsey W. Cooper

U.S. DEPARTl\/[ENT OF .TUSTICE
P.O. BOX 227

Ben Franklin Station

Washington, DC 20044

Honorable Samuel Mays
US DISTRICT COURT

